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                    IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF KANSAS
                              (Kansas City Docket)

UNITED STATES OF AMERICA,

                   Plaintiff,                      CASE NO.:

     v.                                      13-20033-01,02,03,04,05,06,07,08 KHV-DJW

JAMES HUMBERT,
KIMBERLY HUMBERT
     a.k.a. Kim Humbert,
CHARLES STEVENS II,
JOSE RAMON CARO-CORRAL,
ANGEL ARGUELLO-PLATA,
DENNIS ERICSON PORTILLO
     a.k.a. Maynor Benjamin Reyes,
     a.k.a. Alex Perez,
JORGE URIEL DELGADO-OVALLE, and
ADVANTAGE FRAMING SYSTEMS, INC.

                   Defendants.

                                 SEALED INDICTMENT

     The Grand Jury charges:

                                GENERAL ALLEGATIONS

  1. Defendants James Humbert and Kimberly Humbert husband and wife, owned

     and operated Advantage Framing (Advantage) in Spring Hill, Kansas. Charles

     Stevens II (Stevens), the brother of Kim Humbert, also had an ownership stake in

     Advantage.




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2. Advantage Framing provided local builders and contractors with engineered floor,

   pre-built wall panel, and roof truss systems, along with onsite framing erection

   labor.

3. Advantage as a corporate structure had two components. Advantage Framing

   Systems, Inc., was incorporated in 2002, which is the umbrella for the framing

   services and trucking. Kim Humbert served as President of Advantage Framing

   Systems Inc. The second component, Advantage Component Systems, Inc., was

   incorporated in 2006 and housed the manufacturing equipment, lumber,

   inventory, design, and functions.

4. Deposits into Advantage Framing Systems, Inc., checking account are not

   substantial enough to cover the debits to the account; therefore, funds are

   routinely transferred from the Advantage Component Systems, Inc., account to

   cover the balance. The transfers from the “Framing” account to the “Component”

   account were proceeds of Title 8, United States Code, Section 1324(a)(1)(A)(iv).

5. James and Kim Humbert owned 81% of Advantage Framing, while Stevens

   owned 19%.

6. James and Kim Humbert owned 51% of Advantage Component while Stevens

   owned 10%. Advantage Component also had a number of other minority owners.

7. Advantage routinely paid the framing crews on the first and fifteenth days of each

   month based on the percentage of the house that was successfully completed.

   Advantage issued the checks listing the name of the subcontractor or check

   casher (Insurance Provider), the location of the build site, the percentages of the

   completed job, and the terms of the contract.


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                                   THE CONSPIRACY

                                         COUNT I

   8. Paragraphs 1 through 7 are realleged and incorporated herein.

   9. Beginning at a time unknown, but from in or about 2005, and continuing until in or

       about February 2013, in the District of Kansas and elsewhere, the defendants

                               JAMES HUMBERT,
                              KIMBERLY HUMBERT
                               a.k.a. Kim Humbert,
                              CHARLES STEVENS II,
                          JOSE RAMON CARO-CORRAL,
                            ANGEL ARGUELLO-PLATA,
                           DENNIS ERICSON PORTILLO,
                                a.k.a. Maynor Benjamin Reyes,
                               a.k.a. Alex Perez,
                       JORGE URIEL DELGADO-OVALLE, and
                       ADVANTAGE FRAMING SYSTEMS, INC.,

conspired and agreed, together and with others known and unknown to the grand jury,

to commit the following offenses against the United States: (a) harbor illegal aliens in

the United States for commercial advantage and private financial gain, in violation of

Title 8, United States Code, Sections 1324(a)(1)(A)(iv) and (a)(2)(B)(ii)

                   PURPOSE AND OBJECT OF THE CONSPIRACY

   The purpose of the conspiracy, and its manner and means, included the following:

       a. The purpose and object of the conspiracy was to make money and create

          wealth for defendants.

       b. By entering into an agreement to employ persons not lawfully present in the

          United States, defendants James Humbert, Kim Humbert, Charles Stevens II,

          and Advantage Framing Systems, Inc. lowered their operating costs because


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      the wages they paid their workers did not include the employer’s share of

      Social Security payments, worker’s compensation, or unemployment

      insurance benefits paid to lawfully employed workers in the construction

      industry.

   c. By entering into an agreement to employ persons not lawfully present in the

      United States, resulting in lowered operating costs, defendants James

      Humbert, Kim Humbert, Charles Stevens II, and Advantage Framing

      Systems, Inc. placed themselves at a competitive advantage to other builders

      who did not employ persons unlawfully present in the United States, allowing

      the defendants to bid for contracts at a lower rate than their competitors.

   d. By entering into an agreement to be employed, though not lawfully present in

      the United States, co-conspirators obtained money so they could maintain

      their unlawful presence in the United States, and they increased the likelihood

      they could obtain the lawful permanent resident status they desired.

              OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

10. In furtherance of the conspiracy, and to effect the objects thereof, one or more of

   the co-conspirators committed and caused to be committed at least one of the

   following acts, among others, within the District of Kansas and elsewhere:

      a. During March 2012, U.S. Department of Homeland Security (DHS) and

          the Internal Revenue Service (IRS) received information that the owners

          of Advantage (Framing or Component) employed a number of foreign

          nationals who were not lawfully present in the United States, nor were

          they authorized to be employed in the United States.



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 b. To reimburse illegal aliens for their labor, Advantage devised a method

    that required certain undocumented aliens (who often served as the

    framing crew leaders) to show proof of insurance coverage. Once Kim

    Humbert had proof of insurance, checks were issued to crew leaders.

    Crew leaders were responsible to then pay the other undocumented aliens

    in their respective crews.

 c. On August 1, 2012, an individual told agents he created an identity using

    the name Jesus Gonzalez. Jesus Gonzalez provided a fictitious home

    address to Advantage when filling out employment documents. James

    Humbert, Kim Humbert, and Stevens knew that he was not providing them

    his true identity. Additionally, neither James Humbert, Kim Humbert, or

    Stevens were interested in seeing proof of insurance for each worker on

    his framing crew.

 d. Advantage required crew captains to maintain liability insurance for their

    crew. Advantage required little else from the crew captains before they

    were allowed to begin working. Kim Humbert served as the point of

    contact to the framing crews for obtaining the required liability insurance.

 e. Sometime in 2005, James Humbert approached an individual about the

    possibility of becoming an investor in Advantage, because Advantage was

    securing investors to raise at least $1,000,000 so Advantage could

    expand its operation.

 f. James Humbert told the potential investor that he knew of an individual

    who makes fraudulent identification documents for Advantage’s workers



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      not in the country legally. By the time the government realizes that

      Advantage’s workers were using fake social security numbers, the

      workers are no longer employed by Advantage.

 g. A review of bank accounts maintained in Kansas by defendants James

      Humbert, Kim Humbert, and Stevens for Advantage, showed that

      Advantage deposited funds from builders for the work done by their

      framing crews. The Advantage bank accounts also revealed checks

      issued to more than 32 crews for compensation for their framing work.

 h. The following individuals knowingly cashed checks for aliens not lawfully

      present in the United States nor authorized to work in the United States:

      Jose Ramon Caro-Corral, Jorge Uriel Delgado-Ovalle, Angel Arguello-

      Plata, and Dennis Ericson Portillo. These individuals also served as crew

      leaders that were responsible for cashing the Advantage checks and

      distributing the money to the framers assigned to their respective crews. A

      framing crew consisted of approximately 5-6 workers. During the course of

      the investigation, Advantage employed approximately 25 to 33 crews. It

      was not uncommon for one crew leader to cash Advantage checks and

      distribute the money to several different framing crews. All checks issued

      to these defendants were written on Advantage Framing Systems, Inc.’s

      account.

 i.   Starting in about 2005 and continuing to about February 2013, aliens not

      lawfully present in the United States nor authorized to work in the United

      States were employed to work for Advantage even though one or more of



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      the conspirators knew or recklessly disregarded the fact the aliens were

      unlawfully in the United States.

 j.   Starting in about 2005 and continuing on a regular basis, to in or about

      February, 2013, aliens not lawfully present in the United States nor

      authorized to work in the United States were paid cash from crew leaders

      who received checks from Advantage.

 k. Beginning in or about October 2010, and continuing until in or about

      December 2012, defendants James Humbert, Kim Humbert, and Stevens

      maintained bank accounts they used to make payments to employees

      they knew and recklessly disregarded were unlawfully present in the

      United States.

 l.   Advantage required crew leaders to attend safety training meetings at the

      main Advantage business location in Spring Hill, Kansas. At these

      meetings, additional topics such as “How to react if investigators from

      Occupational Safety and Health Administration (OSHA) conduct an on-site

      inspection” were discussed. Workers were instructed by Advantage to tell

      OSHA they worked for a sub-contractor and not directly for Advantage

      Framing Systems.

 m. James Humbert and Kim Humbert discussed how they practiced running a

      drill in the event that immigration officials showed up at the office. Both

      James Humbert and Kim Humbert remarked that the “white guys would

      have no clue what to do while everyone else ran and hid.”




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 n. Beginning in or about November 2010, and continuing until on or about

    December 2012, Advantage Framing issued checks to a “Jesus

    Gonzalez.” Kimberly Humbert told Jesus he would need to have insurance

    to be a contractor for Advantage. Advantage was aware he obtained

    insurance in this alias. From March 2011 through July 2012 Advantage

    Framing issued checks to Jesus totaling approximately $1,094,064.58.

 o. Jesus Gonzalez terminated his employment with Advantage Framing in

    July 2012. Advantage Framing however, continued to issue checks in the

    name of Jesus Gonzalez after July 2012. A total of approximately

    $203,886.97 in checks were issued from July 16, 2012, to October 15,

    2012. Two “Jesus Gonzalez” checks were issued to individuals known by

    Advantage Framing to be Jose Gonzalez-Vasquez and Daniel Olivares.

 p. On August 1, 2012, an individual received a check for work performed

    from Advantage. The check was given to this person by Kimberly Humbert

    in the name of Jose R. Caro Drywall (Jose Caro-Corral). Kimberly

    Humbert was aware that the individual to whom she issued the check to

    was not Jose Caro-Corral. Advantage continued to provide this individual

    with checks because Jose Caro-Corral provided insurance for his crew.

 q. On August 3, 2012, an individual took his check and met Jose Caro-Corral

    at a Bank of America location near Santa Fe Avenue and Interstate 35.

    Jose Caro-Corral took the check from this individual and went into the

    bank. Jose Caro-Corral cashed the check and returned outside to pay this

    person approximately $5,530.00 in cash.



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 r. Advantage issued checks to Jose R. Caro Drywall (Jose Caro-Corral)

    totaling approximately $349,401.67 for the period February 1, 2012

    through December 17, 2012. Jose Caro-Corral served as a check casher

    for several Advantage Framing crews which consisted of undocumented

    aliens.

 s. On October 2, 2012, an individual with the alias “Ernesto Melendez”, from

    El Salvador and present in the United States illegally, worked as a framer

    for Advantage and had cashed an Advantage check for several of the

    framing crews. Melendez cashed the check in Olathe and was now going

    to go pay the crew leaders. Melendez was previously removed from the

    United States.

 t. In late 2009 or 2010, Melendez found work with Advantage Framing and

    was working under a crew leader named Dennis Portillo. Portillo was an

    undocumented alien from Guatemala.

 u. Melendez assumed the role of a crew leader and check casher on or

    about July 2012 when Dennis Portillo told him he no longer wanted to be

    in charge of the crew. Dennis Portillo decided not to continue to cash

    checks from Advantage Framing was because of the large amount of

    currency he had been handling and the fear of being caught by authorities.

 v. In or about May 2011 through July 2012, Advantage Framing issued

    checks to Dennis Ericson Portillo totaling approximately $528,256.11. On

    or about July 16, 2012 through October 1, 2012, Melendez, received

    Advantage Framing checks totaling approximately $248,098.91. Following



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    the arrest of Melendez, Advantage Framing began issuing checks in the

    name of Alex Perez. Alex Perez is an alias name for Dennis Ericson

    Portillo. From November 1, 2012 through December 17, 2012, Advantage

    Framing issued checks in the name of Alex Perez totaling approximately

    $57,759.21.

 w. An Olathe, Kansas money service business (MSB), known as Latino Y

    Punto cashed a check by Jorge Delgado-Ovalle that was dated May 15,

    2012 in the amount of $11,039.62. A second MSB location also known as

    Latino Y Punto in Olathe, Kansas cashed numerous checks by Angel

    Arguello-Plata and Jorge Delgado. All of the checks cashed were from

    Advantage Framing, with the checks dating back to at least January 2012.

 x. On November 17, 2012 Angel Arguello-Plata arrived at Advantage

    Framing in Spring Hill, KS. After leaving Advantage, Angel Arguello-Plata

    went to Latino Y Punto in Olathe, Kansas. After leaving Latino Y Punto,

    Angel Arguello-Plata was pulled over by an Olathe police department

    officer. During the traffic stop, $10,000 in cash was discovered on his

    person.

 y. Angel Arguello-Plata had recently cashed Advantage Framing checks

    made out to J.A. Construction. These checks were cashed at Latino Y

    Punto in Overland Park and Olathe, Kansas.

 z. Between January 5, 2011 and October 1, 2012, Advantage Framing

    issued approximately $811,366.70 in checks to Angel Arguello-Plata.




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              Between April 4, 2011 and December 17, 2012, Advantage Framing

              issued approximately $419,688.95 in checks to Jorge Delgado-Ovalle.

   11. The grand jury incorporates by this reference all of the allegations contained in

       Counts 2 through 31 as additional overt acts committed in furtherance of the

       conspiracy alleged in Count 1.This was all in violation of Title 18, United States

       Code, Section 371.

                             HARBORING ILLEGAL ALIENS

                                      COUNTS 2-12

   12. Paragraphs 1 through 11 are realleged and incorporated herein.

   13. On or about the dates identified below, in the District of Kansas and elsewhere,

       the defendants,


                                 JAMES HUMBERT,
                                KIMBERLY HUMBERT
                                 a.k.a. Kim Humbert,
                                CHARLES STEVENS II,
                            JOSE RAMON CARO-CORRAL,
                              ANGEL ARGUELLO-PLATA,
                             DENNIS ERICSON PORTILLO,
                                  a.k.a. Maynor Benjamin Reyes,
                                  a.k.a. Alex Perez,
                         JORGE URIEL DELGADO-OVALLE, and
                         ADVANTAGE FRAMING SYSTEMS, INC.,

intentionally encouraged aliens identified below, for the purpose of commercial

advantage and private financial gain, to reside in the United States, knowing and in

reckless disregard of the fact that such residence was in violation of law.



                                         OVERT ACTS

  COUNT 2            Juan B. - G.     Approximately February 2011 to December 2012


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  COUNT 3             Hector P.        Approximately May 2011 to May 2012
  COUNT 4          Daniel M. - C.      Approximately January 2011 to January 2013
  COUNT 5          Cristian N. – R.    Approximately August 2012
  COUNT 6             Nestor J.        Approximately January 2011 to October 2012
  COUNT 7             Oscar M.         Approximately October 2012
  COUNT 8             Sergio C.        Approximately November 2012 to December
                                       2012
  COUNT 9           Jose G. – V.       Approximately June 2012 to December 2012
  COUNT 10            Jose P.          Approximately November 2012 to January 2013
  COUNT 11         Manuel M. – B.      Approximately March 2012
  COUNT 12        Santiago C. – M.     Approximately March 2012

Each was in violation of Title 8, United States Code, Section

1324(a)(1)(A)(iv),(v)(II),(a)(2)(B)(ii) and Title 18, United States Code, Section 2.

                  CONSPIRACY TO COMMIT MONEY LAUNDERING

                                        COUNT 13

       Beginning at a time unknown, but from in or about 2005, and continuing until

February 2013 in the District of Kansas, and elsewhere, the defendants

                                 JAMES HUMBERT,
                               KIMBERLY HUMBERT,
                                 a.k.a. Kim Humbert
                               CHARLES STEVENS II,
                           JOSE RAMON CARO-CORRAL,
                             ANGEL ARGUELLO-PLATA,
                            DENNIS ERICSON PORTILLO,
                              a.k.a. Maynor Benjamin Reyes,
                              a.k.a. Alex Perez,
                        JORGE URIEL DELGADO-OVALLE, and
                        ADVANTAGE FRAMING SYSTEMS, Inc.,

and others both known and unknown to the grand jury, knowingly combined, conspired,

and agreed with each other to commit offenses against the United States, in violation of

Title 18, United States Code, Section 1956(h) to wit: to knowingly conduct and attempt

to conduct a financial transaction affecting interstate and foreign commerce, which

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transactions involved the proceeds of specified unlawful activity, that is, harboring illegal

aliens for commercial advantage and private financial gain, knowing that the

transactions were designed in whole or in part to conceal and disguise the nature,

location, source, ownership, and control of the approximately $4,616,507.66 in

proceeds of specified unlawful activity, and that while conducting and attempting to

conduct such financial transactions, knew that the property involved the financial

transactions represented proceeds of some form of unlawful activity, in violation of Title

18, United States Code, Section 1956(a)(1)(B)(i).

                                 MANNER AND MEANS

   14. On or about the dates set forth below, in the District of Kansas and elsewhere,

       the above named defendants issued, or caused to be issued, checks to aliens

       present in the United States illegally:

           DATE                   CHECK             AMOUNT                  PAYABLE TO
                                 NUMBER
     January 2, 2011              11709            $15,513.55              Angel Arguello
      March 15, 2011              11814            $13,822.50              Angel Arguello
       May 1, 2011                 11900           $12,416.40           Dennis Ericson Portillo
       June 1, 2011               11964            $12,913.12           Dennis Ericson Portillo
      April 19, 2011              11886             $5,599.00              Jorge Delgado
       July 19, 2011              12043            $12,310.80              Jorge Delgado
     February 1, 2012             12498             $7,696.50           Jose R. Caro Drywall
       June 1, 2012               12832             $4,603.50           Jose R. Caro Drywall

   15. Each was in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i)

       and 2.


        MONEY LAUNDERING RELATED TO HARBORING ILLEGAL ALIENS

                                     COUNTS 14 - 31



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       On our about the dates set forth below, in the District of Kansas, and elsewhere,

                                JAMES HUMBERT,
                              KIMBERLY HUMBERT,
                                a.k.a. Kim Humbert
                              CHARLES STEVENS II,
                          JOSE RAMON CARO-CORRAL,
                            ANGEL ARGUELLO-PLATA,
                           DENNIS ERICSON PORTILLO,
                             a.k.a. Maynor Benjamin Reyes,
                             a.k.a. Alex Perez,
                       JORGE URIEL DELGADO-OVALLE, and
                       ADVANTAGE FRAMING SYSTEMS, Inc.

did knowingly conduct and attempt to conduct a financial transaction affecting interstate

and foreign commerce, to wit: issued checks, which involved the proceeds of a specified

unlawful activity, that is harboring illegal aliens for commercial advantage and private

financial gain, knowing that the transaction was designed in whole and in part to

conceal and disguise the nature, location, source, ownership, and control of the

proceeds of said specified unlawful activity and that while conducting and attempting to

conduct such financial transactions knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity. All in violation of

Title 18, United States Code, Section 1956(a)(1)(B)(i) and 2.




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COUNT         DATE            CHECK    AMOUNT       PAYABLE          NAMED DEFENDANT
                             NUMBER                   TO
 14      February 16, 2011    11776   $4,825.00     Banuelos       JAMES HUMBERT,
                                                   Construction,   KIMBERLY HUMBERT,
                                                      LLC          CHARLES STEVENS, II,
 15       August 16, 2011     12107   $11,443.50    Banuelos       JAMES HUMBERT,
                                                   Construction,   KIMBERLY HUMBERT,
                                                      LLC          CHARLES STEVENS, II,

 16       January 4, 2011     11710   $11,424.50    D Santos       JAMES HUMBERT,
                                                   Construction    KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 17       March 16, 2011      11816   $12,516.36    D Santos       JAMES HUMBERT,
                                                   Construction    KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 18        July 16, 2012      12933   $25,825.75    Hernesto       JAMES HUMBERT,
                                                    Melendez       KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 19       August 1, 2012      12973   $24,134.38    Hernesto       JAMES HUMBERT,
                                                    Melendez       KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 20        April 2, 2012      12669   $5,400.00        Ivan        JAMES HUMBERT,
                                                    Hernandez      KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 21         May 1, 2012       12755   $7,487.00        Ivan        JAMES HUMBERT,
                                                    Hernandez      KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 22                                                                JAMES HUMBERT,
          January 3, 2011     11717   $5,714.10      Jesus         KIMBERLY HUMBERT,
                                                    Gonzalez       CHARLES STEVENS, II,


 23      February 15, 2011    11784   $10,509.40     Jesus         JAMES HUMBERT,
                                                    Gonzalez       KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,

 24       January 2, 2011    11709    $15,513.55      Angel        JAMES HUMBERT,
                                                     Arguello      KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,
                                                                   ANGEL ARGUELLO-
                                                                   PLATA
 25       March 15, 2011     11814    $13,822.50      Angel        JAMES HUMBERT,
                                                     Arguello      KIMBERLY HUMBERT,
                                                                   CHARLES STEVENS, II,
                                                                   ANGEL ARGUELLO-
                                                                   PLATA


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26      May 1, 2011      11900   $12,416.40     Dennis     JAMES HUMBERT,
                                                Ericson    KIMBERLY HUMBERT,
                                                Portillo   CHARLES STEVENS, II,
                                                           DENNIS ERICSON
                                                           PORTILLO
27      June 1, 2011     11964   $12,913.12     Dennis     JAMES HUMBERT,
                                                Ericson    KIMBERLY HUMBERT,
                                                Portillo   CHARLES STEVENS, II,
                                                           DENNIS ERICSON
                                                           PORTILLO
28     April 19, 2011    11886   $5,599.00      Jorge      JAMES HUMBERT,
                                               Delgado     KIMBERLY HUMBERT,
                                                           CHARLES STEVENS, II,
                                                           JORGE URIEL DELGADO-
                                                           OVALLE

29      July 19, 2011    12043   $12,310.80     Jorge      JAMES HUMBERT,
                                               Delgado     KIMBERLY HUMBERT,
                                                           CHARLES STEVENS, II,
                                                           JORGE URIEL DELGADO-
                                                           OVALLE

30    February 1, 2012   12498   $7,696.50    Jose R.      JAMES HUMBERT,
                                              Caro         KIMBERLY HUMBERT,
                                              Drywall      CHARLES STEVENS, II,
                                                           JOSE RAMON CARO-
                                                           CORRAL

31      June 1, 2012     12832   $4,603.50    Jose R.      JAMES HUMBERT,
                                              Caro         KIMBERLY HUMBERT,
                                              Drywall      CHARLES STEVENS, II,
                                                           JOSE RAMON CARO-
                                                           CORRAL




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                             FORFEITURE ALLEGATION I

                  (Title 8, United States Code, Section 1324 violations)

16.           The allegations contained in the preceding paragraphs of this Indictment

      are hereby realleged and incorporated by reference for the purpose of alleging

      forfeitures pursuant to Title 18, United States Code, Section 982(a)(6), Title 8

      United States Code, Section 1324(b) and Title 28, United States Code, Section

      2461.

17.           As a result of committing the foregoing offenses alleged in Counts 1

      through 12, of this Indictment, the defendants,

                                   JAMES HUMBERT,
                                 KIMBERLY HUMBERT,
                                   a.k.a. Kim Humbert
                                 CHARLES STEVENS II,
                             JOSE RAMON CARO-CORRAL,
                               ANGEL ARGUELLO-PLATA,
                              DENNIS ERICSON PORTILLO,
                                   a.k.a. Maynor Benjamin Reyes,
                                    a.k.a. Alex Perez,
                          JORGE URIEL DELGADO-OVALLE, and
                          ADVANTAGE FRAMING SYSTEMS, Inc.,

      shall forfeit to the United States, pursuant to 8 U.S.C. §1324, 18 U.S.C.

      §982(a)(6), and 28 U.S.C. §2461, any conveyance, including any vehicle used in

      the commission of the offenses, any and all property, real or personal, involved in

      the offenses, that constitutes, or is derived from or is traceable to the proceeds

      obtained directly or indirectly from the commission of the offenses, or is used to

      facilitate, or is intended to be used to facilitate, the commission of the offenses,

      including but not limited to the following:




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                 A. Money Judgment: A sum of money equal to and representing the

             amount of proceeds obtained as a result of the offenses in Counts 1

             through 12 for which the defendants are liable;

                 B. Property:

                    (1) One 2002 Toyota Tundra, VIN: 5TBBT44162S274466;

                     (2) One 2003 Chevrolet Silverado, VIN: 1GCEK19T83E292687;

                    (3) One 2007 Chevrolet Silverado, VIN: 1GCEC19X47Z108744;

                    (4) One 2007 GMC Sierra, VIN: 2GTEC13C671587585;

                    (5) One 2008 Chevrolet Silverado, VIN: 1GCEK14068Z155594.

All in violation of Title 8, United States Code, Section 1324, 18 U.S.C. §982 and 28

U.S.C. §2461.

                             FORFEITURE ALLEGATION II
                    (Title 18, United States Code, Section 1956 violations)

18.   The allegations contained in the preceding paragraphs of this Indictment are

hereby realleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to Title 18, United States Code, Section 982(a)(1).

19.   As a result of committing the foregoing offenses alleged in Counts 13 through 31

of this Indictment, the defendants,

                                   JAMES HUMBERT,
                                   KIMBERLY HUMBERT
                                     a.k.a. Kim Humbert,
                                   CHARLES STEVENS II,
                                  JOSE RAMON CARO-CORRAL,
                                  ANGEL ARGUELLO-PLATA,
                                  DENNIS ERICSON PORTILLO,
                                    a.k.a. Maynor Benjamin Reyes,
                                     a.k.a. Alex Perez,
                                 JORGE URIEL DELGADO-OVALLE, and
                                 ADVANTAGE FRAMING SYSTEMS, Inc.,


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shall forfeit to the United States pursuant to 18 U.S.C. §982(a)(1), any and all property,

real or personal, involved in the offenses, and any property traceable to such property,

including but not limited to the following:

       A.     Money Judgment: A sum of money equal to and representing the value of

              the property involved in the commission of the offenses in Counts 13

              through 31, for which the defendants are liable;

       B.     Property:

                     The property commonly referred to as:

                     (1) One 2002 Toyota Tundra, VIN: 5TBBT44162S274466;

                     (2) One 2003 Chevrolet Silverado, VIN: 1GCEK19T83E292687;

                     (3) One 2007 Chevrolet Silverado, VIN: 1GCEC19X47Z108744;

                     (4) One 2007 GMC Sierra, VIN: 2GTEC13C671587585;

                     (6) One 2008 Chevrolet Silverado, VIN: 1GCEK14068Z155594.

       All in violation of Title 18, United States Code, Section 982.

20.    Substitute Assets

       If any of the property described above, as a result of any act or omission

of the defendants:

       A.     cannot be located upon the exercise of due diligence;

       B.     has been transferred or sold to, or deposited with, a third party;

       C.     has been placed beyond the jurisdiction of the court;

       D.     has been substantially diminished in value; or

       E.     has been commingled with other property which cannot be divided without

                     difficulty,



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the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by 18 United

States Code, Section 982(b)(1) and 28 United States Code, Section 2461(c).

A TRUE BILL.



DATED: March 15, 2013                             s/Foreperson
                                                  FOREPERSON OF THE GRAND JURY



s/ Jabari B. Wamble #22730
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for BARRY R. GRISSOM
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Kansas Supreme Court No.10866




                (It is requested that trial be held in Kansas City, Kansas.)



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PENALTIES

COUNT 1 – Title 18, United States Code, Section 371 – Conspiracy (harboring
illegal aliens)

      NMT than 5 years prison
      NMT $250,000 fine
      NMT 3 years supervised release
      $100 special assessment

COUNTS 2 - 12 – Title 8, United States Code, Section 1324(a)(1)(A), harboring
illegal aliens for commercial advantage and private financial gain.

      NMT than 5 years prison
      NMT $250,000 fine
      NMT 3 years supervised release
      $100 special assessment


COUNT 13 – Title 18, United States Code, Section 1956 (a)(1)(B)(i), conspiracy to
commit money laundering.

      NMT 20 years imprisonment;
      NMT $250,000 fine;
      NMT 3 years supervised release
      $100 special assessment


COUNTS 14 - 31 – Title 18, United States Code, Sections 2 and 1956(a)(1)(B)(i) ,
money laundering related to harboring illegal aliens.

      NMT 20 years imprisonment;
      NMT $250,000 fine;
      NMT 3 years supervised release
      $100 special assessment




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